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                             dba Vivato Technologies
                        15
                        16                      UNITED STATES DISTRICT COURT
                        17                     CENTRAL DISTRICT OF CALIFORNIA
                        18
                              XR COMMUNICATIONS, LLC, dba              Case No. 5:17-cv-00744-AG
                        19    VIVATO TECHNOLOGIES,
                                                                       JOINT STIPULATION OF
                        20                     Plaintiff,              DISMISSAL WITH PREJUDICE
                        21
                                               v.
                        22
                              NEWO CORPORATION,
                        23
                                               Defendant.
                        24
                        25
                        26   	
                        27
                        28


                                               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                       Case 5:17-cv-00744-AG-JCG Document 36 Filed 06/21/18 Page 2 of 2 Page ID #:252



                         1         Under Rule 41 of the Federal Rules of Civil Procedure, Plaintiff XR
                         2   Communications, LLC, dba Vivato Technologies and Defendant Newo Corporation
                         3   move, stipulate, and agree that:
                         4         • this action, Case No. 5:17-cv-00744-AG, shall be dismissed with
                         5            prejudice, subject to the Settlement Agreement of June 15, 2018, whose
                         6            terms shall remain confidential; and
                         7         • each of the parties shall bear its own costs, expenses, and attorney’s fees.
                         8
                         9
                                                                     Respectfully submitted,
                        10
                        11   Dated: June 21, 2018
                                                                     RUSS AUGUST & KABAT
RUSS, AUGUST & KABAT




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                        13
                                                                By: /s/ Reza Mirzaie
                        14
                                                                    Reza Mirzaie
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                                                                     XR COMMUNICATIONS, LLC,
                        19                                           dba VIVATO TECHNOLOGIES
                        20
                        21   Dated: June 21, 2018                    DLA PIPER US LLP
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                        23                                      By: /s/ John M. Guaragna
                        24                                          John M. Guaragna
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                        26                                           Attorneys for Defendant
                                                                     NEWO CORPORATION
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                                                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
